             Case 23-10815-LSS   Doc 60-4   Filed 07/07/23   Page 1 of 4




                                   EXHIBIT C

                                 Proposed Order




30200483.6
                           Case 23-10815-LSS               Doc 60-4        Filed 07/07/23         Page 2 of 4




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re:                                                       Chapter 11

             Peer Street, Inc., et al.,1                                  Case No. 23-10815 (LSS)

                                                 Debtors.
                                                                          (Jointly Administered)

                                                                          Ref. Docket No. __


                      ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
                      YOUNG CONAWAY STARGATT & TAYLOR, LLP AS CO-COUNSEL
                       FOR THE DEBTORS, EFFECTIVE AS OF THE PETITION DATE

                             Upon consideration of the application (the “Application”)2 of the above-captioned

         debtors and debtors in possession (collectively, the “Debtors”) for entry of an order, pursuant to

         section 327(a) of the Bankruptcy Code and Bankruptcy Rule 2014, authorizing the retention and

         employment of Young Conaway Stargatt & Taylor, LLP (“Young Conaway” or the “Firm”) as

         co-counsel to the Debtors, effective as of the Petition Date; and upon consideration of the Barry

         Declaration and the Dunn Declaration; and it appearing that the relief requested is in the best

         interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having

         jurisdiction to consider the Application and the relief requested therein pursuant to 28 U.S.C.

         §§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

         Court for the District of Delaware, dated as of February 29, 2012; and consideration of the


         1
               The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
               numbers, are: Peer Street, Inc. (8584); PS Funding, Inc. (3268); PeerStreet Licensing, Inc. (9435); Peer Street
               Opportunity Fund GP, LLC (8491); Peer Street Funding LLC (9485); PSF REO LLC (1013); PS Options LLC
               (8584); PS Warehouse, LLC (5663); PS Warehouse II, LLC (9252); Peer Street Opportunity Investors II, LP
               (1586); PS Portfolio-ST1, LLC (1868); PSF Ohio, LLC (9485); PSF TX 1, LLC (9485); PSF TX 2, LLC (2415);
               PSF TX 4 LLC (9485). The Debtors’ service address is c/o Province, LLC 2360 Corporate Circle, Suite 340,
               Henderson, NV 89074, Attn: David Dunn, Chief Restructuring Officer.
         2
               Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
               Application.
30200483.6
                       Case 23-10815-LSS          Doc 60-4     Filed 07/07/23      Page 3 of 4




         Application and the relief requested therein being a core proceeding pursuant to 28 U.S.C.

         § 157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and

         due and proper notice of the Application having been provided under the particular circumstances,

         and it appearing that no other or further notice need be provided; and this Court finding that Young

         Conaway is a “disinterested person,” as defined in section 101(14) of the Bankruptcy Code and as

         required by section 327(a) of the Bankruptcy Code because (a) Young Conaway has no connection

         with the Debtors, any creditors, or other parties in interest, their respective attorneys and

         accountants, or the U.S. Trustee or any of its employees, except as set forth in the Barry

         Declaration, (b) Young Conaway is not a creditor, equity security holder, or insider of the Debtors,

         (c) none of Young Conaway’s members or employees are or were, within two (2) years of the

         Petition Date, a director, officer, or employee of the Debtors, and (d) Young Conaway does not

         hold and has neither represented nor represents an interest materially adverse to the interests of the

         Debtors’ estates or of any class of creditors or equity security holders by reason of any direct or

         indirect relationship to, connection with, or interest in, the Debtors or for any other reason; and

         after due deliberation and sufficient cause appearing therefor,

                        IT IS HEREBY ORDERED THAT:

                        1.      The Application is GRANTED as set forth herein.

                        2.      In accordance with section 327(a) of the Bankruptcy Code, the Debtors are

         hereby authorized to retain and employ the firm of Young Conaway as their counsel on the terms

         set forth in the Application and the Barry Declaration, effective as of the Petition Date.

                        3.      Young Conaway shall be entitled to allowance of compensation and

         reimbursement of expenses, upon the filing and approval of interim and final applications pursuant

         to sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and such


30200483.6
                                                           2
                       Case 23-10815-LSS         Doc 60-4      Filed 07/07/23    Page 4 of 4




         other orders as this Court may direct, including, without limitation, any order of this Court

         establishing procedures for interim compensation and reimbursement of professionals retained in

         these chapter 11 cases.

                        4.      The Debtors are authorized to take any and all actions necessary to

         effectuate the relief granted herein.

                        5.      This Court shall retain jurisdiction with respect to all matters arising from

         or related to the implementation of this Order.




30200483.6
                                                           3
